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             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 11-508V
                                   (Filed: January 16, 2015)

* * * * * * * * * * * * * * *
CLIFTON HAIGLER and                        *              UNPUBLISHED,
CHARITY HAIGLER, legal representatives *                  Special Master Dorsey
of a minor child, T.T.H.,                  *
                                           *
               Petitioners,                *
                                           *
v.                                         *              Decision on Proffer; Damages;
                                           *              Varicella Vaccine; Encephalitis.
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
               Respondent.                 *
                                           *
* * * * * * * * * * * * * * *
Peter Joseph Sarda, Creech Law Firm, Raleigh, NC, for petitioners.
Claudi Barnes Gangi, United States Department of Justice, Washington, DC, for respondent.

                             DECISION AWARDING DAMAGES1

        On August 9, 2011, Clifton and Charity Haigler (“petitioners”) filed a petition pursuant to
the National Vaccine Injury Compensation Program,2 42 U.S.C. §§ 300aa-1 to -34 (2006), as the
legal representatives of their son, T.T.H., in which they alleged that a varicella vaccination that
T.T.H. received on October 2, 2008, caused him to suffer encephalitis. Petition at 4.



1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

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       A Ruling on Entitlement was issued on September 5, 2013, where the undersigned found,
by a preponderance of the evidence, that the vaccination T.T.H received caused his injury.

        On January 15, 2015, respondent filed a Proffer on Award of Compensation (“Proffer”).
Respondent proffers that based upon her review of the evidence of record, petitioners should be
awarded the following items of compensation: (1) Life Care Plan: respondent proffers that
T.T.H. be awarded all items set forth in the life care plan illustrated by the chart attached to the
Proffer at Tab A; (2) Lost Future Earnings: respondent proffers that the appropriate award for
T.T.H.’s lost earnings is $743,360.88; (3) Pain and Suffering: respondent proffers that petitioner
should be awarded $250,000.00, in actual and projected pain and suffering, and (4) Past
Unreimbursable Expenses: respondent proffers that petitioner should be awarded past
unreimbursable expenses in the amount of $3,587.02, and (5) Medicaid Lien: respondent proffers
that T.T.H. should be awarded funds to satisfy the State of North Carolina Medicaid lien in the
amount of $478,980.59. Petitioners agree with the proffered award for each item of
compensation.

       Based on the record as a whole, the undersigned finds that petitioners are entitled to an
award as stated in the Proffer. Pursuant to the terms stated in the attached Proffer, the
undersigned awards the following:

      A.       A lump sum payment of $898,498.22, in the form of a check payable to
               Regions Bank, as Trustee of the Grantor Reversionary Trust for the benefit
               of T.T.H., as set forth in Appendix A to the Proffer: Items of Compensation for
               T.T.H., representing trust seed funds consisting of the present year cost of
               compensation for residential facility expenses in Compensation Year 2039
               through Compensation Year 2043 ($527,425.00) and life care expenses in the first
               year after judgment ($371,073.22);

       B.      A lump sum payment of $993,360.88, in the form of a check payable to
               petitioners as the court-appointed guardian(s)/conservator(s) of the estate of
               T.T.H. for the benefit of T.T.H., representing compensation for lost earnings
               ($743,360.88), and pain and suffering ($250,000.00). No payments shall be
               made until petitioners provide respondent with documentation establishing that
               they have been appointed as the guardian(s)/conservator(s) of T.T.H.’s estate;

       C.      A lump sum payment of $3,587.02, in the form of a check payable to
               petitioners, Clifton Haigler and Charity Haigler, representing compensation
               for past unreimbursable expenses;

       D.      A lump sum payment of $478,980.59, in the form of a check made payable
               jointly to petitioners and




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                       North Carolina Department of Health and Human Services
                       Division of Medical Assistance
                       Office of the Controller
                       2022 Mail Service Center
                       Raleigh, NC 27699-2022
                       Medicaid/Health Choice ID: 948650153K

        E.      An amount sufficient to purchase an annuity contract, subject to the conditions
                described in the Proffer and the attachments to that Proffer.

Proffer ¶ II.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT herewith.3

        IT IS SO ORDERED.

                                              s/ Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 3
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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                          OFFICE OF SPECIAL MASTERS
_______________________________________
CLIFTON HAIGLER and                     )
CHARITY HAIGLER, legal representatives  )
of a minor child, T.T.H.,               )
                                        )
                          Petitioners,  )
                                        )
               v.                       )     No. 11-508V
                                        )     Special Master Dorsey
SECRETARY OF HEALTH AND HUMAN )               ECF
SERVICES,                               )
                                        )
                          Respondent.   )
                                        )


                RESPONDENT'S PROFFER ON AWARD OF COMPENSATION

I.       Items of Compensation

         A.       Life Care Items

         Respondent engaged life care planner Ginger Walton, MSN, FNP, CNCLP, and

petitioner engaged Kay Hairston, BSN, RN, CCM, CNCLP, to provide an estimation of T.T.H.’s

future vaccine-injury related needs. For the purposes of this proffer, the term “vaccine related”

is as described in the Special Master’s Ruling on Entitlement filed September 5, 2013. All items

of compensation identified in the life care plan are illustrated by the chart entitled Appendix A:

Items of Compensation for T.T.H., attached hereto as Tab A. 1 Respondent proffers that T.T.H.

should be awarded all items of compensation set forth in the life care plan and illustrated by the

chart attached at Tab A. Petitioners agree.




         1
           The chart at Tab A illustrates the annual benefits provided by the life care plan. The annual benefit years
run from the date of judgment up to the first anniversary of the date of judgment, and every year thereafter up to the
anniversary of the date of judgment.

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         B.     Lost Future Earnings

         The parties agree that based upon the evidence of record, T.T.H. will not be gainfully

employed in the future. Therefore, respondent proffers that T.T.H. should be awarded lost future

earnings as provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(B). Respondent

proffers that the appropriate award for T.T.H.’s lost future earnings is $743,360.88. Petitioners

agree.

         C.     Pain and Suffering

         Respondent proffers that T.T.H. should be awarded $250,000.00 in actual and projected

pain and suffering. This amount reflects that the award for projected pain and suffering has been

reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioners agree.

         D.     Past Unreimbursable Expenses

         Evidence supplied by petitioners documents their expenditure of past unreimbursable

expenses related to T.T.H.’s vaccine-related injury. Respondent proffers that petitioner should

be awarded past unreimbursable expenses in the amount of $3,587.02. Petitioners agree.

         E.     Medicaid Lien

         Respondent proffers that T.T.H. should be awarded funds to satisfy the State of North

Carolina Medicaid lien in the amount of $478,980.59, which represents full satisfaction of any

right of subrogation, assignment, claim, lien, or cause of action the State of North Carolina may

have against any individual as a result of any Medicaid payments the State of North Carolina has

made to, or on behalf of, T.T.H. from the date of his eligibility for benefits through the date of

judgment in this case as a result of his vaccine-related injury suffered on or about October 2,

2008, under Title XIX of the Social Security Act.

II.      Form of the Award

         The parties recommend that the compensation provided to T.T.H. should be made


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through a combination of lump sum payments and future annuity payments as described below,

and request that the Special Master’s decision and the Court’s judgment award the following: 2

        A. A lump sum payment of $898,498.22, representing trust seed funds consisting of the

present year cost of compensation for residential facility expenses in Compensation Year 2039

through Compensation Year 2043 ($527,425.00) and life care expenses in the first year after

judgment ($371,073.22), in the form of a check payable to Regions Bank, as Trustee of the

Grantor Reversionary Trust established for the benefit of T.T.H., as set forth in Appendix A:

Items of Compensation for T.T.H.;

        B. A lump sum payment of $993,360.88, representing compensation for lost future

earnings ($743,360.88) and pain and suffering ($250,000.00), in the form of a check payable to

petitioners as guardian(s)/conservator(s) of T.T.H., for the benefit of T.T.H. No payments shall

be made until petitioners provide respondent with documentation establishing that they have

been appointed as the guardian(s)/conservator(s) of T.T.H.’s estate;

        C. A lump sum payment of $3,587.02, representing compensation for past

unreimbursable expenses, in the form of a check payable to petitioners, Clifton Haigler and

Charity Haigler;

        D. A lump sum payment of $478,980.59, representing compensation for satisfaction of

the State of North Carolina lien, payable jointly to petitioners and

                       North Carolina Department of Health and Human Services
                                    Division of Medical Assistance
                                       Office of the Controller
                                      2022 Mail Service Center
                                       Raleigh, NC 27699-2022
                              Medicaid/Health Choice ID: 948650153K



        2
           Should T.T.H. die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief. In particular, respondent would oppose any award for future medical expenses and lost future
earnings.

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        E. An amount sufficient to purchase an annuity contract, 3 subject to the conditions

described below, that will provide payments for the life care items contained in the life care plan,

as illustrated by the chart at Tab A, attached hereto, paid to the life insurance company 4 from

which the annuity will be purchased. 5 Compensation for Year Two (beginning on the first

anniversary of the date of judgment) and all subsequent years shall be provided through

respondent’s purchase of an annuity, which annuity shall make payments directly to Regions

Bank, the Trustee of the Grantor Reversionary Trust for the benefit of T.T.H., only so long as

T.T.H. is alive at the time a particular payment is due. At the Secretary’s sole discretion, the

periodic payments may be provided to the Trustee of the Grantor Reversionary Trust in monthly,

quarterly, annual or other installments. The “annual amounts” set forth in the chart at Tab A

describe only the total yearly sum to be paid to the Trustee of the Grantor Reversionary Trust

and do not require that the payment be made in one annual installment.

        1.       Growth Rate

        Respondent proffers that a four percent (4%) growth rate should be applied to all non-

medical life care items, and a five percent (5%) growth rate should be applied to all medical life

care items. Thus, the benefits illustrated in the chart at Tab A that are to be paid through annuity



        3
           In respondent’s discretion, respondent may purchase one or more annuity contracts from one or more life
insurance companies.
        4
          The Life Insurance Company must have a minimum of $250,000,000 capital and surplus, exclusive of
any mandatory security valuation reserve. The Life Insurance Company must have one of the following ratings
from two of the following rating organizations:

                 a. A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

                 b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

                 c. Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-, AA, AA+, or
                 AAA;

                 d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating: AA-, AA,
                 AA+, or AAA.

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payments should grow as follows: four percent (4%) compounded annually from the date of

judgment for non-medical items, and five percent (5%) compounded annually from the date of

judgment for medical items. Petitioners agree.

         2.        Life-contingent annuity

             The Trustee of the Grantor Reversionary Trust will continue to receive the annuity

payments from the Life Insurance Company only so long as T.T.H. is alive at the time that a

particular payment is due. Written notice shall be provided to the Trustee of the Grantor

Reversionary Trust, the Secretary of Health and Human Services and the Life Insurance

Company within twenty (20) days of T.T.H.’s death.

         3.        Guardianship

         No payments shall be made until petitioners provide respondent with documentation

establishing that they have been appointed as the guardian(s)/conservator(s) of T.T.H.’s estate.

If petitioners are not authorized by a court of competent jurisdiction to serve as

guardian(s)/conservator(s) of the estate of T.T.H., any such payment shall be made to the party

or parties appointed by a court of competent jurisdiction to serve as guardian(s)/conservator(s) of

the estate of T.T.H. upon submission of written documentation of such appointment to the

Secretary.

III.     Summary of Recommended Payments Following Judgment

         A.        Lump Sum paid to Regions Bank, as Trustee of the Grantor
                   Reversionary Trust for the benefit of T.T.H.:                                    $ 898,498.22


         B.        Lump Sum paid to the court-appointed guardian(s)/
                   conservator(s) of the estate of T.T.H. for
                   the benefit of T.T.H.:                                                           $ 993,360.88

         C.        Paid to petitioners, Clifton Haigler and Charity Haigler:                        $      3,587.02

         5
           Petitioners authorize the disclosure of certain documents filed by the petitioners in this case consistent
with the Privacy Act and the routine uses described in the National Vaccine Injury Compensation Program System
of Records, No. 09-15-0056.
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      D.     Medicaid Lien:                                                    $ 478,980.59

      E.     An amount sufficient to purchase the annuity contract described
             above in section II. E.

                                          Respectfully submitted,

                                          JOYCE R. BRANDA
                                          Acting Assistant Attorney General

                                          RUPA BHATTACHARYYA
                                          Director
                                          Torts Branch, Civil Division

                                          VINCENT J. MATANOSKI
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          VORIS E. JOHNSON
                                          Assistant Director
                                          Torts Branch, Civil Division


                                          S/ Claudia B. Gangi
                                          CLAUDIA B. GANGI
                                          Senior Trial Attorney
                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
                                          P.O. Box 146
                                          Benjamin Franklin Station
                                          Washington, D.C. 20044-0146
                                          Telephone: (202) 616-4138

Dated: January 15, 2015




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                                                                     Items of Compensation   T.T.H.  Page 10 of 21                       Page 1 of 12
                                       Lump Sum
       ITEMS OF                       Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION              G.R. *    Year 1      Year 2       Year 3       Year 4       Year 5       Year 6       Year 7       Year 8       Year 9
                                         2015         2016         2017         2018         2019         2020         2021         2022         2023
BCBS Premium                   5%         2,898.72    2,898.72     2,898.72     2,898.72     2,898.72     2,898.72     2,898.72     2,898.72     2,898.72
BCBS MOP                       5%         1,500.00    1,500.00     1,500.00     1,500.00     1,500.00     1,500.00     1,500.00     1,500.00     1,500.00
Medicare Part B Premium        5%
Medicare Part B Deductible     5% *
Medigap F Premium              5%
Medicare Part D                5%
Pediatrician                   5% *
Primary Care                   5% *
Mileage: Primary Care          4%
Neurologist                    5% *
Mileage: Neurologist           4%            26.32       26.32        26.32        26.32        26.32        26.32        26.32        26.32        26.32
Epileptologist                 5% *
Mileage: Epileptologist        4%            39.48       39.48        39.48        39.48        39.48        39.48        39.48        39.48        39.48
Orthopedist                    5% *
Mileage: Orthopedist           4%            14.10       14.10        14.10        14.10        14.10        14.10        14.10        14.10        14.10
Physical Med./Rehab            5% *
Mileage: Phys. Med./Rehab      4%            18.33       18.33        18.33        18.33        18.33        18.33        18.33        18.33        18.33
Gastro-enterology              5% *
Nutritionist                   4% *
Mileage: Gastro/Nutritionist   4%            54.99       54.99        54.99        54.99        54.99        54.99        54.99        54.99        54.99
Opthalmology                   5% *
Mileage: Opthalmology          4%            18.33       18.33        18.33        18.33        18.33        18.33        18.33        18.33        18.33
Endocrinology                  5% *
Mileage: Endocrinology         4%            26.32       26.32        26.32        26.32        26.32        26.32        26.32
Podiatry                       5% *
Dental                         5%           100.65      100.65       100.65       100.65       100.65       100.65       100.65       100.65       100.65
EEG                            5% *
Mileage: EEG                   4%            13.16
MRI Brain                      5% *
Mileage: MRI Brain             4%            18.33
Brain CT                       5% *
Mileage: Brain CT              4%            18.33
DEXA Scan                      5% *
Mileage: DEXA Scan             4%            18.33
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                                                                 Items of Compensation   T.T.H.  Page 11 of 21                       Page 2 of 12
                                   Lump Sum
       ITEMS OF                   Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION        G.R.   *    Year 1      Year 2       Year 3       Year 4       Year 5       Year 6       Year 7       Year 8       Year 9
                                     2015         2016         2017         2018         2019         2020         2021         2022         2023
X-rays                   5%     *
Mileage: X-rays          4%              14.10       14.10        14.10        14.10        14.10        14.10        14.10        14.10        14.10
ER                       5%     *
Ambulance                5%     *
Hospitalization          5%     *
Labs                     5%     *
Mickey Button Revision   4%     *
Care Mngt                4%           8,400.00    8,400.00     4,800.00     4,800.00     4,800.00     4,800.00     4,800.00     4,800.00     4,800.00
Keppra                   5%     *
Lamictal 25 mg           5%     *
Lamictal 5 mg            5%     *
Clonidine                5%     *
Vimpat                   5%     *
Onfil                    5%     *
Levalbuterol             5%     *
Diastat                  5%     *
Senna OTC                4%             191.63      191.63       191.63       191.63       191.63       191.63       191.63       191.63       191.63
D-Vi-Sol                 4%              62.05       62.05        62.05        62.05        62.05        62.05        62.05        62.05        62.05
Vit D                    4%              18.25       18.25        18.25        18.25        18.25        18.25        18.25        18.25        18.25
Mupirocin                4%              42.92       42.92        42.92        42.92        42.92        42.92        42.92        42.92        42.92
Nystatin                 4%              60.00       60.00        60.00        60.00        60.00        60.00        60.00        60.00        60.00
Hydrocortisone           5%     *
BD Lactinex Oral         4%             795.70      795.70       795.70       795.70       795.70       795.70       795.70       795.70       795.70
Nutren Jr                4%             474.50      474.50       474.50       474.50       474.50       474.50       474.50       474.50       474.50
Ensure                   4%
G-Tube                   4% *
G-Tube Ext Set           4% *
Enteral Bolus Kit        4% *
5cc Syringes             4%             140.40       140.40       140.40       140.40       140.40       140.40       140.40       140.40         140.40
Diapers                  4%           3,285.00     3,285.00     3,285.00     3,285.00     3,285.00     3,285.00     3,285.00     3,285.00       3,285.00
Wipes                    4%             287.28       287.28       287.28       287.28       287.28       287.28       287.28       287.28         287.28
Disposable Pads          4%             294.00       294.00       294.00       294.00       294.00       294.00       294.00       294.00         294.00
Reusable Bed Pads        4%             746.88       746.88       746.88       746.88       746.88       746.88       746.88       746.88         746.88
Gloves                   4%             493.56       493.56       493.56       493.56       493.56       493.56       493.56       493.56         493.56
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                                                                 Items of Compensation   T.T.H.  Page 12 of 21                         Page 3 of 12
                                      Lump Sum
      ITEMS OF                       Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
    COMPENSATION              G.R. *    Year 1      Year 2       Year 3       Year 4       Year 5       Year 6       Year 7       Year 8       Year 9
                                        2015          2016         2017         2018         2019         2020         2021         2022         2023
Paper Towels                  4%           308.88       308.88       308.88       308.88       308.88       308.88       308.88       308.88       308.88
Hand Soap                     4%            21.12        21.12        21.12        21.12        21.12        21.12        21.12        21.12        21.12
Hand Sanitizer                4%           440.16       440.16       440.16       440.16       440.16       440.16       440.16       440.16       440.16
PT Consult                    4% *
Mileage: PT Consult           4%            73.32        73.32        73.32        73.32        73.32        73.32        73.32        73.32        73.32
OT Consult                    4% *
Mileage: OT Consult           4%            73.32        73.32        73.32        73.32        73.32        73.32        73.32        73.32        73.32
ST Consult                    4% *
Mileage: ST Consult           4%            73.32        73.32        73.32        73.32        73.32        73.32        73.32        73.32        73.32
PT                            4% *       8,750.00     8,750.00     8,750.00     8,750.00     8,750.00     8,750.00     8,750.00     8,750.00     8,750.00
OT                            4% *      11,500.00    11,500.00    11,500.00    11,500.00    11,500.00    11,500.00    11,500.00    11,500.00    11,500.00
ST                            4% *       8,250.00     8,250.00     8,250.00     8,250.00     8,250.00     8,250.00     8,250.00     8,250.00     8,250.00
Vision Therapy                4%           360.00       360.00       360.00       360.00       360.00
Mileage: Vision Therapy       4%            18.33        18.33        18.33        18.33        18.33
Assistive Tech Eval           4%           475.00       475.00       475.00       475.00       475.00       475.00       475.00       475.00       475.00
Mileage: Assistive Tech Eval  4%            18.33        18.33        18.33        18.33        18.33        18.33        18.33        18.33        18.33
Seating & Equip Clinic        4%                                                  548.60                                                           548.60
Mileage: Seating/Equip Clinic 4%                                                   18.33                                                            18.33
Adapted WC w/ Seating Pkg     4%                                                6,354.00                                                         6,354.00
WC Maint                      4%           508.00       508.00       508.00       508.00       508.00       508.00       508.00       508.00       508.00
Special Needs Stroller        4%         2,750.00
Seating & Positioning Chair   4%         3,500.00
Semi-electric Hospital Bed    4% *
Repl Mattress                 4%           234.00                                                           234.00
Alt Pressure Pad & Pump       4%           270.00                    270.00                    270.00                    270.00                    270.00
Stander                       4% *
Gait Trainer                  4%         1,477.00                                                         1,477.00
Hoyer Lift                    4% *
Repl Sling                    4%           115.00        95.83        95.83        95.83        95.83        95.83        95.83        95.83        95.83
Shower Chair                  4%           882.00                                                           882.00
Hand Held Shower              4%            46.78                                                            46.78
AFOs                          4% *
Supramalleolar Orthotics      4% *
Socks for AFO Braces          4%           112.00       112.00       112.00       112.00       112.00       112.00       112.00       112.00       112.00
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                                                                    Items of Compensation   T.T.H.  Page 13 of 21                                               Page 4 of 12
                                      Lump Sum
       ITEMS OF                      Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION             G.R. *    Year 1       Year 2       Year 3       Year 4       Year 5       Year 6       Year 7       Year 8       Year 9
                                        2015          2016         2017         2018         2019         2020         2021         2022         2023
Shoes for AFO Braces          4%           192.00       192.00       192.00       192.00       192.00       192.00       192.00       192.00       192.00
Nebulizer Machine             4% *
Skilled Nurse: School Days    4%        76,590.00    76,590.00    76,590.00    76,590.00    76,220.00    76,220.00    76,220.00    76,220.00    76,220.00
Skilled Nurse: Non-Sch Days   4%       108,568.00   108,568.00   108,568.00   108,568.00   108,240.00   108,240.00   108,240.00   108,240.00   108,240.00
Respite Care                  4%         9,840.00     9,840.00     9,840.00     9,840.00     9,840.00     9,840.00     9,840.00     9,840.00     9,840.00
Skilled Nurse 18 hrs/day      4%
Skilled Nurse 24 hrs/day      4%
Day Program                   4%
Trust Seed/Facility Care      4%       527,425.00
Accessible Housing            0%        70,155.00
Home Mods: Track System       0%         9,500.00
Batteries for Track           4%                                                                             50.00
Sling                         4%                                                                                         450.00
2nd Sling                     4%           450.00                                                                        450.00
Track Inspection              4%                        300.00       300.00       300.00       300.00       300.00       300.00       300.00       300.00
Modified Van                  4%        35,000.00
Van Maint                     4%           450.00       450.00       450.00       450.00       450.00       450.00       450.00       450.00       450.00
Lost Future Earnings                   743,360.88
Pain and Suffering                     250,000.00
Past Unreimbursable Exp.                 3,587.02
Medicaid Lien                          478,980.59
Annual Totals                         2,374,426.71     247,021.12       243,691.12      250,342.05       242,993.12      245,034.57      243,514.79       242,318.47      249,509.40
                                    Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                    Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                    As soon as practicable after entry of judgment, respondent shall make the following payment to Regions Bank, Trustee of the Grantor
                                    Reversionary Trust established for the benefit of T.T.H. for trust seed funds ($527,425.00) and
                                    Year 1 life care expenses ($371,073.22): $898,498.22.
                                    As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                    conservator(s) of T.T.H. for lost future earnings ($743,360.88) and pain and suffering ($250,000.00): $993,360.88.
                                    As soon as practicable after entry of judgment, respondent shall make the following payment to petitioners, Clifton Haigler and
                                    Charity Haigler, for past unreimbursable expenses: $3,587.02.
                                    As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                    petitioners and the State of North Carolina, as reimbursement of the state's Medicaid lien: $478,980.59.
                                    Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                    Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                    Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
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     COMPENSATION              G.R. *     Year 10      Year 11      Year 12      Year 13      Year 14      Year 15      Year 16      Year 17      Year 18
                                           2024         2025         2026         2027         2028         2029         2030         2031         2032
BCBS Premium                   5%          2,898.72     2,898.72     2,898.72     2,898.72     4,564.92     4,564.92     4,564.92     4,564.92     4,583.16
BCBS MOP                       5%          1,500.00     1,500.00     1,500.00     1,500.00     1,500.00     1,500.00     1,500.00     1,500.00     1,500.00
Medicare Part B Premium        5%
Medicare Part B Deductible     5%   *
Medigap F Premium              5%
Medicare Part D                5%
Pediatrician                   5%   *
Primary Care                   5%   *
Mileage: Primary Care          4%                          56.40        56.40        56.40         56.40        56.40        56.40        56.40            56.40
Neurologist                    5%   *
Mileage: Neurologist           4%             26.32        36.66        36.66        36.66         36.66        36.66        36.66        36.66            36.66
Epileptologist                 5%   *
Mileage: Epileptologist        4%             39.48        54.99        54.99        54.99         54.99        54.99        54.99        54.99            54.99
Orthopedist                    5%   *
Mileage: Orthopedist           4%             14.10        14.10        14.10        14.10         14.10        14.10        14.10        14.10            14.10
Physical Med./Rehab            5%   *
Mileage: Phys. Med./Rehab      4%             18.33        18.33        18.33        18.33         18.33        18.33        18.33        18.33            18.33
Gastro-enterology              5%   *
Nutritionist                   4%   *
Mileage: Gastro/Nutritionist   4%             54.99        36.66        36.66        36.66         36.66        36.66        36.66        36.66            36.66
Opthalmology                   5%   *
Mileage: Opthalmology          4%             18.33        18.33        18.33        18.33         18.33        18.33        18.33        18.33            18.33
Endocrinology                  5%   *
Mileage: Endocrinology         4%
Podiatry                       5%   *
Dental                         5%            100.65       142.50       142.50       142.50        142.50       142.50       142.50       142.50           142.50
EEG                            5%   *
Mileage: EEG                   4%
MRI Brain                      5%   *
Mileage: MRI Brain             4%
Brain CT                       5%   *
Mileage: Brain CT              4%
DEXA Scan                      5%   *
Mileage: DEXA Scan             4%                          18.33                                                                                           18.33
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       ITEMS OF                   Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION        G.R. *     Year 10      Year 11      Year 12      Year 13      Year 14      Year 15      Year 16      Year 17      Year 18
                                     2024         2025         2026         2027         2028         2029         2030         2031         2032
X-rays                   5%   *
Mileage: X-rays          4%             14.10        21.15
ER                       5%   *
Ambulance                5%   *
Hospitalization          5%   *
Labs                     5%   *
Mickey Button Revision   4%   *
Care Mngt                4%           4,800.00     4,800.00     4,800.00     4,800.00     4,800.00     4,800.00     4,800.00     4,800.00       4,800.00
Keppra                   5%   *
Lamictal 25 mg           5%   *
Lamictal 5 mg            5%   *
Clonidine                5%   *
Vimpat                   5%   *
Onfil                    5%   *
Levalbuterol             5%   *
Diastat                  5%   *
Senna OTC                4%            191.63       191.63       191.63       191.63        191.63       191.63       191.63       191.63           191.63
D-Vi-Sol                 4%             62.05        62.05        62.05        62.05         62.05        62.05        62.05        62.05            62.05
Vit D                    4%             18.25        18.25        18.25        18.25         18.25        18.25        18.25        18.25            18.25
Mupirocin                4%             42.92        42.92        42.92        42.92         42.92        42.92        42.92        42.92            42.92
Nystatin                 4%             60.00        60.00        60.00        60.00         60.00        60.00        60.00        60.00            60.00
Hydrocortisone           5%   *
BD Lactinex Oral         4%            795.70       795.70       795.70       795.70        795.70       795.70       795.70       795.70           795.70
Nutren Jr                4%            474.50
Ensure                   4%                         766.50       766.50       766.50        766.50       766.50       766.50       766.50           766.50
G-Tube                   4%   *
G-Tube Ext Set           4%   *
Enteral Bolus Kit        4%   *
5cc Syringes             4%             140.40       140.40       140.40       140.40       140.40       140.40       140.40       140.40         140.40
Diapers                  4%           3,285.00     3,285.00     3,285.00     3,285.00     3,285.00     3,285.00     3,285.00     3,285.00       3,285.00
Wipes                    4%             287.28       287.28       287.28       287.28       287.28       287.28       287.28       287.28         287.28
Disposable Pads          4%             294.00       294.00       294.00       294.00       294.00       294.00       294.00       294.00         294.00
Reusable Bed Pads        4%             746.88       746.88       746.88       746.88       746.88       746.88       746.88       746.88         746.88
Gloves                   4%             493.56       493.56       493.56       493.56       493.56       493.56       493.56       493.56         493.56
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       ITEMS OF                          Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION               G.R. *     Year 10      Year 11      Year 12      Year 13      Year 14      Year 15      Year 16      Year 17      Year 18
                                            2024         2025         2026         2027         2028         2029         2030         2031         2032
Paper Towels                    4%            308.88       308.88       308.88       308.88       308.88       308.88       308.88       308.88       308.88
Hand Soap                       4%              21.12        21.12        21.12        21.12        21.12        21.12        21.12        21.12        21.12
Hand Sanitizer                  4%            440.16       440.16       440.16       440.16       440.16       440.16       440.16       440.16       440.16
PT Consult                      4%   *
Mileage: PT Consult             4%             73.32        73.32        73.32        73.32         18.33        18.33        18.33        18.33            18.33
OT Consult                      4%   *
Mileage: OT Consult             4%             73.32        73.32        73.32        73.32         18.33        18.33        18.33        18.33            18.33
ST Consult                      4%   *
Mileage: ST Consult             4%              73.32        73.32        73.32       73.32
PT                              4%   *       8,750.00     8,750.00     8,750.00
OT                              4%   *      11,500.00    11,500.00    11,500.00
ST                              4%   *       8,250.00     8,250.00     8,250.00
Vision Therapy                  4%
Mileage: Vision Therapy         4%
Assistive Tech Eval             4%            475.00       475.00       475.00       475.00        475.00       158.33       158.33       158.33           158.33
Mileage: Assistive Tech Eval    4%             18.33        18.33        18.33        18.33         18.33         6.11         6.11         6.11             6.11
Seating & Equip Clinic          4%                                                                 548.60
Mileage: Seating/Equip Clinic   4%                                                                  18.33
Adapted WC w/ Seating Pkg       4%                                                               6,354.00
WC Maint                        4%            508.00       508.00       508.00       508.00        508.00       508.00       508.00       508.00           508.00
Special Needs Stroller          4%
Seating & Positioning Chair     4%                        3,500.00
Semi-electric Hospital Bed      4%   *
Repl Mattress                   4%                         234.00                                                            234.00
Alt Pressure Pad & Pump         4%                         270.00                    270.00                     270.00                    270.00
Stander                         4%   *
Gait Trainer                    4%                        1,477.00                                                         1,477.00
Hoyer Lift                      4%   *
Repl Sling                      4%             95.83        95.83        95.83        95.83         95.83        95.83        95.83        95.83            95.83
Shower Chair                    4%                         882.00                                                            882.00
Hand Held Shower                4%                          46.78                                                             46.78
AFOs                            4%   *
Supramalleolar Orthotics        4%   *
Socks for AFO Braces            4%            112.00       112.00       112.00       112.00        112.00       112.00       112.00       112.00           112.00
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       ITEMS OF                        Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION             G.R. *     Year 10      Year 11      Year 12      Year 13      Year 14      Year 15      Year 16      Year 17      Year 18
                                          2024         2025         2026         2027         2028         2029         2030         2031         2032
Shoes for AFO Braces          4%            192.00       192.00       192.00       192.00       192.00       192.00       192.00       192.00       192.00
Nebulizer Machine             4% *
Skilled Nurse: School Days    4%          121,360.00      121,360.00       121,360.00      121,360.00
Skilled Nurse: Non-Sch Days   4%          171,216.00      171,216.00       171,216.00      171,216.00
Respite Care                  4%
Skilled Nurse 18 hrs/day      4%                                                                           192,618.00       192,618.00      192,618.00      192,618.00       192,618.00
Skilled Nurse 24 hrs/day      4%                                                                            96,432.00        96,432.00       96,432.00       96,432.00        96,432.00
Day Program                   4%                                                                            38,251.20        38,251.20       38,251.20       38,251.20        38,251.20
Trust Seed/Facility Care      4%
Accessible Housing            0%
Home Mods: Track System       0%
Batteries for Track           4%                                50.00                                                                             50.00
Sling                         4%                                                               450.00
2nd Sling                     4%                                                               450.00
Track Inspection              4%              300.00           300.00          300.00          300.00           300.00          300.00          300.00           300.00           300.00
Modified Van                  4%                            29,750.00
Van Maint                     4%              450.00           450.00          450.00          450.00           450.00          450.00          450.00           450.00           450.00
Lost Future Earnings
Pain and Suffering
Past Unreimbursable Exp.
Medicaid Lien
Annual Totals                             340,594.47      377,227.40       340,978.14      313,648.14      355,607.17       348,627.35      351,047.13      348,627.35       348,393.92
                                       Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                       Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment to Regions Bank, Trustee of the Grantor
                                       Reversionary Trust established for the benefit of T.T.H. for trust seed funds ($527,425.00) and
                                       Year 1 life care expenses ($371,073.22): $898,498.22.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                       conservator(s) of T.T.H. for lost future earnings ($743,360.88) and pain and suffering ($250,000.00): $993,360.88.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment to petitioners, Clifton Haigler and
                                       Charity Haigler, for past unreimbursable expenses: $3,587.02.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                       petitioners and the State of North Carolina, as reimbursement of the state's Medicaid lien: $478,980.59.
                                       Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                       Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                       Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
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     COMPENSATION              G.R. *     Year 19      Year 20      Year 21      Year 22     Years 23-24  Years 25-29  Years 30-56 Years 57-Life
                                           2033         2034         2035         2036       2037-2038    2039-2043    2044-2070    2071-Life
BCBS Premium                   5%          4,674.48     4,962.12     5,108.16     5,108.16
BCBS MOP                       5%          1,500.00     1,500.00     1,500.00     1,500.00
Medicare Part B Premium        5%                                                               1,258.80     1,258.80     1,258.80     1,258.80
Medicare Part B Deductible     5%   *
Medigap F Premium              5%                                                                3,126.60     3,126.60     3,126.60     2,493.00
Medicare Part D                5%                                                                  894.00       894.00       894.00       894.00
Pediatrician                   5%   *
Primary Care                   5%   *
Mileage: Primary Care          4%             56.40        56.40
Neurologist                    5%   *
Mileage: Neurologist           4%             36.66        36.66
Epileptologist                 5%   *
Mileage: Epileptologist        4%             54.99        54.99
Orthopedist                    5%   *
Mileage: Orthopedist           4%             14.10        14.10
Physical Med./Rehab            5%   *
Mileage: Phys. Med./Rehab      4%             18.33        18.33
Gastro-enterology              5%   *
Nutritionist                   4%   *
Mileage: Gastro/Nutritionist   4%             36.66        36.66
Opthalmology                   5%   *
Mileage: Opthalmology          4%             18.33        18.33
Endocrinology                  5%   *
Mileage: Endocrinology         4%
Podiatry                       5%   *                                                             165.00       165.00        165.00       165.00
Dental                         5%            142.50       142.50        142.50       142.50       142.50       142.50        142.50       142.50
EEG                            5%   *
Mileage: EEG                   4%
MRI Brain                      5%   *
Mileage: MRI Brain             4%
Brain CT                       5%   *
Mileage: Brain CT              4%
DEXA Scan                      5%   *
Mileage: DEXA Scan             4%
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     COMPENSATION        G.R. *     Year 19      Year 20      Year 21      Year 22     Years 23-24  Years 25-29  Years 30-56 Years 57-Life
                                     2033         2034         2035         2036       2037-2038    2039-2043    2044-2070    2071-Life
X-rays                   5%   *
Mileage: X-rays          4%
ER                       5%   *
Ambulance                5%   *
Hospitalization          5%   *
Labs                     5%   *
Mickey Button Revision   4%   *
Care Mngt                4%           4,800.00     4,800.00     4,800.00     4,800.00      4,800.00     4,800.00     4,800.00     4,800.00
Keppra                   5%   *                                                            1,140.00     1,140.00     1,140.00     1,140.00
Lamictal 25 mg           5%   *                                                            1,140.00     1,140.00     1,140.00     1,140.00
Lamictal 5 mg            5%   *                                                            1,140.00     1,140.00     1,140.00     1,140.00
Clonidine                5%   *                                                               12.00        12.00        12.00        12.00
Vimpat                   5%   *                                                              444.00       444.00       444.00       444.00
Onfil                    5%   *                                                            5,456.39     5,456.39     5,456.39     5,456.39
Levalbuterol             5%   *                                                               84.00        84.00        84.00        84.00
Diastat                  5%   *                                                              475.23       475.23       475.23       475.23
Senna OTC                4%            191.63       191.63        191.63       191.63        191.63       191.63       191.63       191.63
D-Vi-Sol                 4%             62.05        62.05         62.05        62.05         62.05        62.05        62.05        62.05
Vit D                    4%             18.25        18.25         18.25        18.25         18.25        18.25        18.25        18.25
Mupirocin                4%             42.92        42.92         42.92        42.92         42.92        42.92        42.92        42.92
Nystatin                 4%             60.00        60.00         60.00        60.00         60.00        60.00        60.00        60.00
Hydrocortisone           5%   *                                                               84.00        84.00        84.00        84.00
BD Lactinex Oral         4%            795.70       795.70        795.70       795.70        795.70       795.70       795.70       795.70
Nutren Jr                4%
Ensure                   4%            766.50       766.50        766.50       766.50       766.50       766.50        766.50       766.50
G-Tube                   4%   *
G-Tube Ext Set           4%   *
Enteral Bolus Kit        4%   *
5cc Syringes             4%             140.40       140.40       140.40       140.40        140.40       140.40       140.40       140.40
Diapers                  4%           3,285.00     3,285.00     3,285.00     3,285.00      3,285.00     3,285.00     3,285.00     3,285.00
Wipes                    4%             287.28       287.28       287.28       287.28        287.28       287.28       287.28       287.28
Disposable Pads          4%             294.00       294.00       294.00       294.00        294.00       294.00       294.00       294.00
Reusable Bed Pads        4%             746.88       746.88       746.88       746.88        746.88       746.88       746.88       746.88
Gloves                   4%             493.56       493.56       493.56       493.56        493.56       493.56       493.56       493.56
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       ITEMS OF                          Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION               G.R. *     Year 19      Year 20      Year 21      Year 22     Years 23-24  Years 25-29  Years 30-56 Years 57-Life
                                            2033         2034         2035         2036       2037-2038    2039-2043    2044-2070    2071-Life
Paper Towels                    4%            308.88       308.88       308.88       308.88         308.88       308.88       308.88      308.88
Hand Soap                       4%              21.12        21.12        21.12        21.12         21.12        21.12        21.12       21.12
Hand Sanitizer                  4%            440.16       440.16       440.16       440.16         440.16       440.16       440.16      440.16
PT Consult                      4%   *
Mileage: PT Consult             4%             18.33        18.33
OT Consult                      4%   *
Mileage: OT Consult             4%             18.33        18.33
ST Consult                      4%   *
Mileage: ST Consult             4%
PT                              4%   *
OT                              4%   *
ST                              4%   *
Vision Therapy                  4%
Mileage: Vision Therapy         4%
Assistive Tech Eval             4%             158.33      158.33        158.33       158.33       158.33       158.33        158.33       158.33
Mileage: Assistive Tech Eval    4%               6.11        6.11
Seating & Equip Clinic          4%             548.60      109.72        109.72       109.72       109.72       109.72        109.72       109.72
Mileage: Seating/Equip Clinic   4%              18.33
Adapted WC w/ Seating Pkg       4%           6,354.00     1,270.80     1,270.80     1,270.80      1,270.80     1,270.80     1,270.80     1,270.80
WC Maint                        4%             508.00       508.00       508.00       508.00        508.00       508.00       508.00       508.00
Special Needs Stroller          4%
Seating & Positioning Chair     4%
Semi-electric Hospital Bed      4%   *
Repl Mattress                   4%                                       234.00        46.80        46.80        46.80         46.80        46.80
Alt Pressure Pad & Pump         4%            270.00                     270.00       135.00       135.00       135.00        135.00       135.00
Stander                         4%   *
Gait Trainer                    4%                                     1,477.00       295.40       295.40       295.40        295.40       295.40
Hoyer Lift                      4%   *
Repl Sling                      4%             95.83        95.83         95.83        95.83        95.83        95.83         95.83        95.83
Shower Chair                    4%                                       882.00       176.40       176.40       176.40        176.40       176.40
Hand Held Shower                4%                                        46.78         9.36         9.36         9.36          9.36         9.36
AFOs                            4%   *
Supramalleolar Orthotics        4%   *
Socks for AFO Braces            4%            112.00       112.00        112.00       112.00       112.00       112.00        112.00       112.00
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       ITEMS OF                        Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
     COMPENSATION             G.R. *     Year 19      Year 20      Year 21      Year 22     Years 23-24  Years 25-29  Years 30-56 Years 57-Life
                                          2033         2034         2035         2036       2037-2038    2039-2043    2044-2070    2071-Life
Shoes for AFO Braces          4%            192.00       192.00       192.00       192.00          96.00        96.00        96.00       96.00
Nebulizer Machine             4% *
Skilled Nurse: School Days    4%
Skilled Nurse: Non-Sch Days   4%
Respite Care                  4%
Skilled Nurse 18 hrs/day      4%          192,618.00      192,618.00       192,618.00      192,618.00      192,618.00
Skilled Nurse 24 hrs/day      4%           96,432.00       96,432.00        96,432.00       96,432.00       96,432.00
Day Program                   4%           38,251.20       38,251.20        38,251.20       38,251.20       38,251.20
Trust Seed/Facility Care      4%                                                                                                    -       105,485.00      105,485.00
Accessible Housing            0%
Home Mods: Track System       0%
Batteries for Track           4%
Sling                         4%              450.00
2nd Sling                     4%              450.00
Track Inspection              4%              300.00           300.00
Modified Van                  4%
Van Maint                     4%              450.00           450.00
Lost Future Earnings
Pain and Suffering
Past Unreimbursable Exp.
Medicaid Lien
Annual Totals                             356,557.84      350,135.07       352,162.65      349,915.83      358,631.69        31,330.49      136,815.49      136,181.89
                                       Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                       Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment to Regions Bank, Trustee of the Grantor
                                       Reversionary Trust established for the benefit of T.T.H. for trust seed funds ($527,425.00) and
                                       Year 1 life care expenses ($371,073.22): $898,498.22.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment to the court-appointed guardian(s)/
                                       conservator(s) of T.T.H. for lost future earnings ($743,360.88) and pain and suffering ($250,000.00): $993,360.88.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment to petitioners, Clifton Haigler and
                                       Charity Haigler, for past unreimbursable expenses: $3,587.02.
                                       As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                       petitioners and the State of North Carolina, as reimbursement of the state's Medicaid lien: $478,980.59.
                                       Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                       Annual amounts shall increase at the rates indicated in column "G.R." above, compounded annually from the date of judgment.
                                       Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
